                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )     CASE NO. 3:13-00090
                                                   )     JUDGE SHARP
JUAN MEJIA-MIRANDA [10]                            )
ALMA YOSANA RAMOS-LIZARDO [13]                     )
                                                   )

                                         ORDER

       Pending before the Court are Defendants’ Motions to Set Change of Plea Hearing

(Docket Nos. 176 and 181).

       The motions are GRANTED and change of plea hearings are hereby scheduled for

Thursday, September 16, 2013, at 2:30 p.m.

       It is so ORDERED.



                                             KEVIN H. SHARP
                                             UNITED STATES DISTRICT JUDGE




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